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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
       Plaintiff,                            )
                                             )
vs.                                          ) Case No.: 19-CR-00367
                                             )
JOHN RALLO,                                  )
                                             )
       Defendant.                            )

                             DEFENDANT’S OBJECTIONS
                    TO THE PRESENTENCE INVESTIGATION REPORT

       COMES NOW Defendant, John Rallo, by and through counsel, and files the following

objections to the presentence investigation report (“PSR”), following his attempts to

administrative resolve his objections, which were ultimately unsuccessful:

       Paragraph 68: Defendant objects to the Government’s ranking of culpability reproduced

in Paragraph 68, and in particular its ranking of Defendant above co-Defendant William Miller.

As the Government’s Omnibus Sentencing Memorandum and Response to Defendant’s

Sentencing Memorandum noted, Defendant Miller acted as County Executive Stenger’s “right-

hand man” in his extensive pay to play scheme, and did so as a licensed attorney, former

Administrative Law Judge, and a salaried government employee. Doc. 26, at 1-2. None of those

considerations are present with respect to Defendant Rallo, and he objects that his culpability

should be ranked lower than that of Defendant Miller.

       Paragraph 91: Defendant objects to Paragraph 91’s classification of proceedings

involving the Missouri Commission on Securities. First, that matter was a civil matter that cannot

properly be classified as “Other Criminal Conduct.” That civil proceeding resulted in a default
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finding after Defendant consulted with counsel about the costs and benefits of contesting that

proceeding and was advised that, due to the pendency of this criminal action, it was prudent not

to present a defense or to participate into discovery, despite Defendant’s position that he was not

liable for the conduct alleged. Defendant objects that the circumstances addressed in Paragraph

91 cannot properly or logically be considered as “other criminal conduct” for purposes of

sentencing.


Dated: September 23, 2019                     Respectfully Submitted,

                                              ROGERS SEVASTIANOS & BANTE, LLP


                                By:           /S/ John P. Rogers
                                              JOHN P. ROGERS, 38743MO
                                              120 S. Central Avenue, Suite 160
                                              Clayton, Missouri 63105
                                              (314) 354-8484
                                              Facsimile (314) 354-8271
                                              jrogers@rsblawfirm.com

                                 CERTIFICATE OF SERVICE

       I hereby certify that on September 23, 2019, the foregoing was electronically filed with
the Clerk of the Court to Mr. Hal Goldsmith, assistant United States attorney.
